                                                Case 21-52577-pwb                         Doc 31   Filed 07/30/21 Entered 07/30/21 17:27:30                                       Desc
                                                                                                       Page 1 of 1
                                                                                        Form 1
                                                                                                                                                                                                               Page: 1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:      21-52577-PWB                                                                                                                     Trustee Name:        (300320) S. Gregory Hays
Case Name:       WILLIAMS, CYNTHIA                                                                                                              Date Filed (f) or Converted (c): 03/30/2021 (f)
                                                                                                                                                § 341(a) Meeting Date:       05/04/2021
For Period Ending:        06/30/2021                                                                                                            Claims Bar Date: 08/16/2021

                                                     1                                                  2                              3                            4                      5                          6

                                             Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                         and Other Costs)                                                             Remaining Assets

    1        2020 Buick Encore GX, 8450 miles                                                               22,100.00                                0.00           OA                                 0.00                        FA
             Notice of abandonment filed on 5/14/21. Dkt # 16.

    2        HHG                                                                                             2,000.00                                0.00                                              0.00                        FA

    3        Clothing                                                                                            700.00                              0.00                                              0.00                        FA

    4        Checking: PNC                                                                                        67.00                              0.00                                              0.00                        FA

    5        Savings: PNC                                                                                        107.34                              0.00                                              0.00                        FA

    6        403B: 403B                                                                                     12,500.00                                0.00                                              0.00                        FA

    7*       One-Half Interest - 9436 Gooden Drive, Fayetteville (Cumberland County), NC                    55,814.00                          55,814.00                                               0.00               55,814.00
             28314 (u) (See Footnote)
    8*       One-half interest - 6801 Bryanstone Way, Fayetteville (Cumberland County), NC                  87,222.50                          87,222.50                                               0.00               87,222.50
             28314 (u) (See Footnote)

    8        Assets               Totals       (Excluding unknown values)                               $180,510.84                         $143,036.50                                            $0.00              $143,036.50


     RE PROP# 7              1/2 Interest. Total value of $111,628 per Zillow.

     RE PROP# 8              1/2 Interest. Total value of $174,445 per Zillow.




         Major Activities Affecting Case Closing:
                                        Trustee has identified two properties in North Carolina where debtor has a one-half interest. Trustee has confirmed insurance on properties. Trustee
                                        intends to settle or sell properties.

         Initial Projected Date Of Final Report (TFR):                       06/30/2023                                    Current Projected Date Of Final Report (TFR):                       06/30/2023


              07/30/2021                                                                                                     /s/S. Gregory Hays

                   Date                                                                                                      S. Gregory Hays
